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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                          May 31, 2022
                                                                       Nathan Ochsner, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

         CHARLES MOSELY,       § CIVIL ACTION NO.
                    Plaintiff, § 4:21-cv-00396
                               §
                               §
              vs.              § JUDGE CHARLES ESKRIDGE
                               §
                               §
         NEWREZ MORTGAGE       §
         LLC,                  §
                   Defendant. §


                        ORDER ADOPTING
                 MEMORANDUM AND RECOMMENDATION

            Plaintiff Charles Mosely brought this action pro se in
        the 215th Judicial District of Harris County, Texas. He
        alleges that Defendant NewRez Mortgage LLC d/b/a
        Shellpoint     Mortgage    Servicing     made    negligent
        misrepresentations regarding his mortgage payments on
        the property located at 3005 Nita Street, Houston, Texas
        77051. Dkt 1-2 at ¶¶ 6–17.
            Shellpoint removed the action based on diversity
        jurisdiction. Dkt 1. The case was referred to Magistrate
        Judge Sam S. Sheldon for full pretrial management
        pursuant to 28 USC § 636(b)(1)(A) and (B) and Rule 72 of
        the Federal Rules of Civil Procedure. Dkt 5. Mosely
        subsequently moved to remand, arguing that the amount
        in controversy doesn’t exceed $75,000. Dkt 22. Judge
        Sheldon issued a Memorandum and Recommendation on
        May 4, 2022. He addressed several evidentiary motions
        and ultimately recommended that the motion to remand be
        granted. Dkt 28. Neither party filed objections.
            When no party objects to the conclusions of a
        magistrate judge, the reviewing court need only satisfy
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        itself that no clear error appears on the face of the record.
        See Guillory v PPG Industries Inc, 434 F3d 303, 308 (5th
        Cir 2005), citing Douglass v United Services Automobile
        Association, 79 F3d 1415, 1420 (5th Cir 1996); see also
        FRCP 72(b) advisory committee note (1983).
            The Court has reviewed the pleadings, the record, the
        applicable law, and the recommendation. No clear error
        appears.
            The Memorandum and Recommendation is ADOPTED as
        the Memorandum and Order of this Court. Dkt 28.
            The motion by Plaintiff Charles Mosely to remand is
        GRANTED. Dkt 22.
            This action is REMANDED to the 215th Judicial District
        of Harris County, Texas.
            The Clerk of Court is ORDERED to provide a copy of this
        order to the 215th Judicial District of Harris County,
        Texas.
            SO ORDERED.


            Signed on May 31, 2022, at Houston, Texas.



                                   Hon. Charles Eskridge
                                   United States District Judge




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